
PER CURIAM:
This claim was submitted to the Court for decision upon a Stipulation entered into by claimant and respondent wherein certain facts and circumstances of the claim were agreed to as follows:
1. On February 17,2003, claimant was traveling across the Amandaville Bridge on Route 60 in St. Albans, Kanawha County, when her vehicle struck a hole in the road damaging two rims and a tire.
2. Respondent was responsible for the maintenance of the Amandaville Bridge on Route 60 in Kanawha County and respondent failed to maintain properly Route 60 on the date of this incident.
3. As a result of this incident, claimant’s vehicl e sustained damage in the amount of $1,052.09. However, claimant is limited to the amount of her insurance deductible feature which is $250.00.
4. Respondent agrees that the amount of $250.00 for the damages as put forth by the claimant is fair and reasonable.
The Court has reviewed the facts of the claim and finds that respondent was negligent in its maintenance of the Amandaville Bridge on Route 60 in Kanawha County on the date of this incident; that the negligence of respondent was the proximate cause of the damages sustained to claimant’s vehicle; and that the amount of the damages agreed to by the parties is fair and reasonable. Thus, claimant may make a recovery for her loss.
Accordingly, the Court is of the opinion to and does make an award in the amount of $250.00.
Award of $250.00.
